                                        IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE – NASHVILLE DIVISION

 IN RE:

 Integrated Healing Technologies, LLC                                    CASE NO. 18-04526-RM3-7
                                                                         CHAPTER 7
                                                                         JUDGE Randal S. Mashburn
          DEBTOR.

 THE DEADLINE FOR FILING A TIMELY RESPONSE IS: 4/8/19 (30 DAY NOTICE PERIOD)
 IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: 4/16/19, 9:00 A.M.,
 COURTROOM ONE, U.S. CUSTOMS HOUSE, 701 BROADWAY, NASHVILLE, TENNESSEE

                             NOTICE OF MOTION FOR ALLOWANCE OR DISALLOWANCE OF CLAIMS

            John C. McLemore, Trustee, has asked the court for the following: to allow or disallow claims.

           YOUR RIGHTS MAY BE AFFECTED. If you do not want the Court to grant the attached motion, or if you want the Court to
 consider your views on the motion, then on or before 4/8/19, you or your attorney must:

 1.         File with the Court your response or objection explaining your position. PLEASE NOTE: THE BANKRUPTCY COURT FOR
            THE MIDDLE DISTRICT OF TENNESSEE REQUIRES ELECTRONIC FILING. ANY RESPONSE OR OBJECTION YOU
            WISH TO FILE MUST BE SUBMITTED ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR YOUR ATTORNEY
            MUST GO TO THE COURT WEBSITE AND FOLLOW THE INSTRUCTIONS AT: https://ecf.tnmb.uscourts.gov.

            If you need assistance with Electronic Filing, you may call the Bankruptcy Court at (615) 736-5584. You may also visit the
            Bankruptcy Court in person at: U.S. Bankruptcy Court, 701 Broadway, 1st Floor, Nashville, Tennessee (Monday – Friday, 8:00
            a.m. – 4:00 p.m.).

 2.         Your response must state that the deadline for filing responses is 4/8/19, the date of the scheduled hearing is 4/16/19
            and the motion to which you are responding is Motion for Allowance or Disallowance of Claims.

 3.         You must serve your response or objection by electronic service through the Electronic Filing system described above. You
            must also mail a copy of your response or objection to:

            John C. McLemore, Trustee                            United States Trustee
            2000 Richard Jones Rd., Ste. 250                     701 Broadway, Customs House Suite 318
            Nashville, TN 37215                                  Nashville, TN 37203

             If a timely response is filed before the deadline stated above, the hearing will be held at the time and place indicated above.
 THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response has been filed by
 calling the Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at www.tnmb.uscourts.gov .

           If you or your attorney do not take these steps, the Court may decide that you do not oppose the relief sought in the motion and
 may enter an order granting that relief.

            This 7th day of March, 2019

                                                                           Respectfully submitted,

                                                                           /s/ John C. McLemore, Trustee
                                                                           John C. McLemore, Trustee
                                                                           Tn. Bar No. 3430
                                                                           2000 Richard Jones Rd., Ste. 250
                                                                           Nashville, TN 37215
                                                                           (615) 383-9495 (phone)
                                                                           (615) 292-9848 (fax)
                                                                           jmclemore@gmylaw.com




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                        IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

 IN RE:

 Integrated Healing Technologies, LLC                          CASE NO. 18-04526-RM3-7
                                                               CHAPTER 7
          DEBTOR.                                              JUDGE Randal S. Mashburn


       CHAPTER 7 TRUSTEE’S MOTION FOR ALLOWANCE OR DISALLOWANCE OF CLAIMS

          The Chapter 7 Trustee, John C. McLemore, moves the Court to allow and disallow claims filed in this
 proceeding as set forth in Exhibit A to this motion.
           All claims filed against this Chapter 7 Bankruptcy Estate before the claims bar deadline of October
 22, 2018, have been reviewed and are included in the recommendations set forth in Exhibit A to this motion.
 If a creditor has not filed a claim, its name does not appear on Exhibit A and its claim is not allowed. Each
 claim is identified by the claim number and the creditor name. The “Claim Status” column indicates whether
 the Trustee recommends allowance or disallowance of a claim. If a claim is disallowed there will be a brief
 explanation on the line titled “Claim Notes.” The “Amount Allowed” column states the amount of a claim to be
 allowed. It does not indicate the amount to be paid.
          The Trustee files this motion and recommendations pursuant to his duties under 11 U.S.C. §704(5).
 All recommendations are subject to review by the Court. The order resulting from this motion will be a final
 determination regarding the allowance or disallowance of all claims listed on Exhibit A.
          WHEREFORE, the Trustee prays for the entry of an order allowing or disallowing the claims as set
 forth in the attached Exhibit A, and for such other and further relief as is just.
          Dated this 7th day of March, 2019.

                                                                Respectfully submitted,

                                                                /s/ John C. McLemore, Trustee
                                                                John C. McLemore, Trustee
                                                                Tn. Bar No. 3430
                                                                2000 Richard Jones Rd., Ste. 250
                                                                Nashville, TN 37215
                                                                (615) 383-9495 (phone)
                                                                (615) 292-9848 (fax)
                                                                jmclemore@gmylaw.com




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                  FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

 IN RE:

 Integrated Healing Technologies, LLC                       CASE NO. 18-04526-RM3-7
                                                            CHAPTER 7
          DEBTOR.                                           JUDGE Randal S. Mashburn


                             ORDER ALLOWING AND DISALLOWING CLAIMS

        The Trustee, John C. McLemore, has moved the Court to allow and disallow claims filed in this
 proceeding as set forth in Exhibit A to the motion.

         A copy of the motion and accompanying exhibit were served on the Debtor, Debtor’s counsel,
 U.S. Trustee, all creditors and parties in interest. Each was given 30 days in which to file a written
 objection with the Court. Neither the Trustee nor the U.S. Bankruptcy Court Clerk has received an
 objection.

          It is the opinion of the Court that the Trustee’s motion is well taken.

          It is ORDERED that the Trustee’s recommendations regarding the allowance and disallowance of
 claims filed and the amounts of those claims are thereby APPROVED.

         It is further ORDERED that this is a final determination as to the amount, allowance and
 disallowance of all claims listed on Exhibit A attached to the Trustee’s motion.

          This Order was signed and entered electronically as indicated at the top of this page.

 APPROVED FOR ENTRY:

 /s/ John C. McLemore, Trustee
 John C. McLemore, Trustee
 Tn. Bar No. 3430
 2000 Richard Jones Rd., Ste. 250
 Nashville, TN 37215
 (615) 383-9495 (phone)
 (615) 292-9848 (fax)
 jmclemore@gmylaw.com




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                   FOR THE MIDDLE DISTRICT OF TENNESSEE - NASHVILLE DIVISION

 IN RE:

 Integrated Healing Technologies, LLC                    CASE NO. 18-04526-RM3-7
                                                         CHAPTER 7
          DEBTOR.                                        JUDGE Randal S. Mashburn


                                          CERTIFICATE OF SERVICE

          I hereby certify that on the date noted below, a true and correct copy of the foregoing listed below
 was mailed either electronically or by U.S. mail, postage prepaid, to the U.S. Trustee, 701 Broadway,
 Customs House Suite 318, Nashville, TN 37203; Debtor, Integrated Healing Technologies, LLC, c/o Albert
 Rodewald, Co-Chair of the Board, 4814 Byrd Lane, College Grove, TN 37046; Robert Lipman, Co-Chair of
 the Board, 411 Great Circle Rd., Nashville, TN 37228; Debtor’s attorney, John Charles Tishler, 511 Union
 Street, Ste. 2700, Nashville, TN 37219; all creditors, and all parties requesting notice, as reflected on the
 mailing matrix attached to the original of this pleading on file with the Clerk of this Court.

          This 7th day of March, 2019.

                                                           Respectfully submitted,

                                                           /s/ John C. McLemore, Trustee
                                                           John C. McLemore, Trustee
                                                           Tn. Bar No. 3430
                                                           2000 Richard Jones Rd., Ste. 250
                                                           Nashville, TN 37215
                                                           (615) 383-9495 (phone)
                                                           (615) 292-9848 (fax)
                                                           jmclemore@gmylaw.com

 Attachments:

           (1)   Notice of Chapter 7 Trustee’s Motion for Allowance or Disallowance of Claims

           (2)   Chapter 7 Trustee’s Motion for Allowance or Disallowance of Claims

           (3)   Proposed Order Allowing and Disallowing Claims




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                                                                                        CLAIM ANALYSIS REPORT


  Case No.                       18-04526-RM3-7                                                                                      Trustee Name:           John C. McLemore
  Case Name:                     INTEGRATED HEALING TECHNOLOGIES, LLC                                                                Date:                   3/6/2019
  Taxpayer ID #:                 XX-XXXXXXX
  Claims Bar Date:               10/22/2018


 Claim               Creditor Name           Claim          Claim Class        Claim       Uniform    Scheduled     Claim        Amount         Amount       Interest         Tax           Net
  No.:                                       Date                              Status     Tran Code    Amount      Amount        Allowed         Paid                                    Remainin
                                                                                                                                                                                            g

      1   CALDWELL, MEREDITH               08/06/2018 Unsecured               Allowed     8200-052         $0.00   $100,000.00   $100,000.00         $0.00        $0.00          $0.00   $100,000.00
         28 INVERARAY
         NASHVILLE TN 37215
Claim Notes:   Allow/Equity Security Holder
      2   CIT FINANCE, LLC                 08/06/2018 General Unsecured       Allowed     7100-000         $0.00     $7,220.19     $7,220.19         $0.00        $0.00          $0.00     $7,220.19
          PO Box 593007
          San Antonio TX 78259
Claim Notes:     Allow/General Unsecured
      3   GARY B FERGUSON                  08/09/2018 Priority               Disallowed   5800-000         $0.00   $218,702.15         $0.00         $0.00        $0.00          $0.00        $0.00
          2002 OVERHILL DRIVE
          NASHVILLE TN 37215
Claim Notes:     Disallow/Inadequate Documentation
     3a   GARY B FERGUSON                  08/09/2018 General Unsecured      Disallowed   7100-000         $0.00   $218,702.16         $0.00         $0.00        $0.00          $0.00        $0.00
          2002 OVERHILL DRIVE
          NASHVILLE TN 37215
Claim Notes:     Disallow/Inadequate Documentation
      4   WOUND CARE CO UK                 08/13/2018 General Unsecured      Disallowed   7100-000         $0.00     $9,392.63         $0.00         $0.00        $0.00          $0.00        $0.00
          LTD
          201 CHAPEL ST
          MANCHESTER M3 5EQ
          UNITED KINGDOM


Claim Notes:     Disallow/Inadequate Documentation
      5   SHERRARD ROE VOIGT               08/21/2018 General Unsecured       Allowed     7100-000         $0.00    $74,974.27    $74,974.27         $0.00        $0.00          $0.00    $74,974.27
          & HARBISON
           150 Third Avenue South, Suite
          1100
          Nashville TN 37201
Claim Notes:     Allow/General Unsecured




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  Case No.                      18-04526-RM3-7                                                                                       Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                 Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name         Claim           Claim Class         Claim       Uniform    Scheduled     Claim        Amount         Amount       Interest         Tax          Net
  No.:                                     Date                                Status     Tran Code    Amount      Amount        Allowed         Paid                                    Remainin
                                                                                                                                                                                            g

     6   THOMAS A MOORE                  08/22/2018   General Unsecured       Allowed     7100-000         $0.00   $100,000.00   $100,000.00         $0.00        $0.00          $0.00   $100,000.00
         AND
         JANINE E MOORE
         4650 EVERAL LN
         FRANKLIN TN 37064
Claim Notes:   Allow/General Unsecured
    6a   THOMAS A MOORE                  01/10/2019 Unsecured                 Allowed     8200-052         $0.00    $59,579.00    $59,579.00         $0.00        $0.00          $0.00    $59,579.00
         AND
         JANIE MOORE


Claim Notes:   Allow/Equity Security Holder
     7   BUNYAN S DUDLEY                 08/23/2018 Unsecured                 Allowed     8200-052         $0.00    $25,000.00    $25,000.00         $0.00        $0.00          $0.00    $25,000.00
         507 SANDPIPER CIRCLE
         NASHVILLE TN 37221
Claim Notes:   Allow/Equity Security Holder
     8   LAURA MOSS-DUDLEY               08/23/2018 Unsecured                 Allowed     8200-052         $0.00    $25,000.00    $25,000.00         $0.00        $0.00          $0.00    $25,000.00
         507 SANDPIPER CIRCLE
         NASHVILLE TN 37221
Claim Notes:   Allow/Equity Security Holder
     9   DAVID D ALFERY                  08/28/2018 Unsecured                 Allowed     8200-052         $0.00   $293,476.00   $293,476.00         $0.00        $0.00          $0.00   $293,476.00
         22 WYNSTONE
         NASHVILLE TN 37215
Claim Notes:   Allow/Equity Security Holder
    10   ULINE SHIPPING                  08/29/2018 General Unsecured         Allowed     7100-000         $0.00      $168.49       $168.49          $0.00        $0.00         $0.00       $168.49
         SUPPLIES
          12575 ULINE DRIVE
         PLEASANT PRAIRIE WI 53158
Claim Notes:   Allow/General Unsecured
    11   CRAIG, MARGARET C               08/31/2018 General Unsecured        Disallowed   7100-000         $0.00    $70,636.00         $0.00         $0.00        $0.00          $0.00         $0.00
         27 LEXINGTON GREEN
         NASHVILLE TN 37215
Claim Notes:   Disallow/Inadequate Documentation



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  Case No.                      18-04526-RM3-7                                                                                           Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                     Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name          Claim           Claim Class         Claim        Uniform       Scheduled     Claim        Amount        Amount       Interest         Tax          Net
  No.:                                      Date                                Status      Tran Code       Amount      Amount        Allowed        Paid                                    Remainin
                                                                                                                                                                                                g

    12   NELSON, MEREDITH B               09/04/2018   General Unsecured      Disallowed        7100-000        $0.00    $64,892.00       $0.00          $0.00        $0.00          $0.00        $0.00
         2704 TYNE BLVD
         NASHVILLE TN 37215
Claim Notes:    Disallow/Inadequate Documentation
    13   OXFORD UNIVERSITY                09/05/2018 General Unsecured         Allowed          7100-000        $0.00    $17,204.19   $17,204.19         $0.00        $0.00          $0.00   $17,204.19
         PRESS
          THE CASHIERS OFFC
          GREAT CLARENDON ST
          OXFORD OX2 6DP
          UNITED KINGDOM


Claim Notes:    Allow/General Unsecured
    14   600 MCCLURE                      09/06/2018 General Unsecured         Allowed          7100-000        $0.00    $60,162.08   $57,162.00         $0.00        $0.00          $0.00   $57,162.00
         dba Boyd Corporation
         Modesto CA 95382
Claim Notes:    Allow/General Unsecured (Paid $3,000 for Warehouseman's Lien #3142 on 3/4/19)
    15   RIDGEFIELD                       09/07/2018 General Unsecured        Disallowed        7100-000        $0.00   $725,000.00       $0.00          $0.00        $0.00          $0.00       $0.00
         PROPERTIES
          515 CHURCH STREET
          SUITE 3703
          NASHVILLE TN 37219
Claim Notes:    Disallow/Inadequate Documentation
    16   PATTERSON                        09/13/2018 General Unsecured         Allowed          7100-000        $0.00    $47,801.56   $47,801.56         $0.00        $0.00          $0.00   $47,801.56
         INTELLECTUAL
         PROPERTY LAW, P.C.
          John D. Bowers c/o Patterson
          Intellectual Property
          Roundabout Plaza
          1600 Division Street, STE 500
          Nashville TN 37203
Claim Notes:    Allow/General Unsecured
    17   JEFFREY R FISHER                 09/20/2018 Priority                 Disallowed        5300-000        $0.00    $12,850.00       $0.00          $0.00        $0.00          $0.00       $0.00
         539 CLOSE LANE
         NASHVILLE TN 37205
Claim Notes:                       Case
                Disallow/No Documentation      3:18-bk-04526               Doc 104    Filed 03/07/19 Entered 03/07/19 08:45:33                       Desc Main
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  Case No.                      18-04526-RM3-7                                                                                          Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                    Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name           Claim           Claim Class         Claim       Uniform    Scheduled      Claim        Amount         Amount       Interest         Tax          Net
  No.:                                       Date                                Status     Tran Code    Amount       Amount        Allowed         Paid                                    Remainin
                                                                                                                                                                                               g

   17a   JEFFREY R FISHER                  09/20/2018   General Unsecured       Allowed     7100-000         $0.00    $222,150.00   $201,645.56         $0.00        $0.00          $0.00   $201,645.56
         539 CLOSE LANE
         NASHVILLE TN 37205
Claim Notes:    Allow/General Unsecured
    18   JAMES D BAIRD                     09/26/2018 General Unsecured        Disallowed   7100-000         $0.00      $5,050.00         $0.00         $0.00        $0.00          $0.00         $0.00
         5214 RUSTIC WAY
         OLD HICKORY TN 37138
Claim Notes:    Disallow/Inadequate Documentation
    19   KEITH MULLINS                     09/28/2018 General Unsecured         Allowed     7100-000         $0.00    $350,000.00   $350,000.00         $0.00        $0.00          $0.00   $350,000.00
         2421 CRESTMOOR RD
         NASHVILLE TN 37215
Claim Notes:    Allow/General Unsecured
   19a   KEITH MULLINS                     01/10/2019 General Unsecured        Disallowed   7100-000     $70,000.00    $70,000.00         $0.00         $0.00        $0.00          $0.00         $0.00
Claim Notes:    Disallow/Inadequate Documentation
    20   TN DEPARTMENT OF         10/02/2018 Priority                           Allowed     5800-000         $0.00       $889.00       $889.00          $0.00        $0.00          $0.00      $889.00
         REVENUE
          TN ATTY GENERAL'S OFFC,
          BANKR DIV
          PO BOX 20207
          NASHVILLE TN 37202-0207
Claim Notes:    Allow/Priority 507(a)(8)
    21   STEPHEN SANTI                     10/05/2018 Unsecured                 Allowed     8200-052         $0.00     $50,000.00    $50,000.00         $0.00        $0.00          $0.00    $50,000.00
         1105 RADNOR GLEN DRIVE
         BRENTWOOD TN 37027
Claim Notes:    Allow/Equity Security Holder
    22   CARR RIGGS &                      10/05/2018 General Unsecured         Allowed     7100-000         $0.00     $10,600.00    $10,600.00         $0.00        $0.00          $0.00    $10,600.00
         INGRAM LLC
          3011 ARMORY DRIVE STE 190
          NASHVILLE TN 37204
Claim Notes:    Allow/General Unsecured
    23   CARR, RIGGS, &#038;               10/10/2018 General Unsecured        Disallowed   7100-000         $0.00     $10,600.00         $0.00         $0.00        $0.00          $0.00         $0.00
         INGRAM, LLC
          3011 Armory Dr, Suite 190
          Nashville TN 37204
Claim Notes:                          Case
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  Case No.                      18-04526-RM3-7                                                                                            Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                      Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name          Claim           Claim Class         Claim       Uniform    Scheduled       Claim          Amount         Amount       Interest         Tax          Net
  No.:                                      Date                                Status     Tran Code    Amount        Amount          Allowed         Paid                                    Remainin
                                                                                                                                                                                                 g

    24   MERCY SURGICAL                   10/15/2018   General Unsecured       Allowed     7100-000         $0.00      $6,990.26       $6,990.26          $0.00        $0.00          $0.00     $6,990.26
         DRESSING GROUP INC.
         4 ZESTA DR
          PITTSBURGH PA 15205
Claim Notes:   Allow/General Unsecured
    25   STATE OF DELAWARE                10/15/2018 Priority                  Allowed     5800-000         $0.00        $156.16         $156.16          $0.00        $0.00          $0.00      $156.16
         DIVISION OF
         CORPORATIONS
         DELAWARE DIVISION OF
         CORPORATIONS
         401 FEDERAL STREET STE 4
         DOVER DC 19901
Claim Notes:   Allow/Priority 507(a)(8)
    26   KATHY FOLLIN                     10/15/2018 General Unsecured         Allowed     7100-000         $0.00    $166,500.00     $142,822.78          $0.00        $0.00          $0.00   $142,822.78
         c/o Roger Jones
         Bradley Arant Boult Cummings,
         LLP
         1600 Division St., Ste. 700
         Nashville TN 37203
Claim Notes:   Allow/General Unsecured $101,322.78
               Allow/General Unsecured $41,500.00
    27   ORIN H. INGRAM II             10/15/2018 General Unsecured           Disallowed   7100-000         $0.00     $41,733.00           $0.00          $0.00        $0.00         $0.00          $0.00
         c/o Roger Jones
         Bradley Arant Boult Cummings,
         LLP
         1600 Division St., Ste. 700
         Nashville TN 37203
Claim Notes:   Disallow/Inadequate Documentation
    28   ROBERT LIPMAN                    10/15/2018 General Unsecured         Allowed     7100-000         $0.00   $1,800,000.00   $1,521,101.03         $0.00        $0.00          $0.00 $1,521,101.03
         c/o Roger Jones
         Bradley Arant Boult Cummings,
         LLP
         1600 Division St., Ste. 700
         Nashville TN 37203
Claim Notes:   Allow/General Unsecured
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  Case No.                      18-04526-RM3-7                                                                                          Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                    Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name          Claim           Claim Class         Claim       Uniform    Scheduled       Claim        Amount         Amount       Interest         Tax          Net
  No.:                                      Date                                Status     Tran Code    Amount        Amount        Allowed         Paid                                    Remainin
                                                                                                                                                                                               g

    29   ROBERT LIPMAN                    10/15/2018   General Unsecured      Disallowed   7100-000         $0.00    $991,667.00          $0.00         $0.00        $0.00          $0.00         $0.00
         c/o Roger Jones
         Bradley Arant Boult Cummings,
         LLP
         1600 Division St., Ste. 700
         Nashville TN 37203
Claim Notes:   Disallow/Inadequate Documentation
    30   GRAYMAR INVESTORS,             10/15/2018 General Unsecured          Disallowed   7100-000         $0.00   $3,786,626.00         $0.00         $0.00        $0.00          $0.00         $0.00
         LLC
          c/o Roger Jones
          Bradley Arant Boult Cummings,
          LLP
          1600 Division St., Ste. 700
          Nashville TN 37203
Claim Notes:   Disallow/Inadequate Documentation
    31   JOHN E BLOUNT                    10/16/2018 General Unsecured         Allowed     7100-000         $0.00     $12,965.00     $12,965.00         $0.00        $0.00          $0.00    $12,965.00
         1101 NORRIS DRIVE
         PAWLEYS ISLAND SC 29585
Claim Notes:   Allow/General Unsecured
    32   JOHN E BLOUNT                    10/16/2018 Priority                  Allowed     5300-000         $0.00      $8,916.67      $8,916.67         $0.00        $0.00          $0.00     $8,916.67
         1101 NORRIS DRIVE
         PAWLEYS ISLAND SC 29585
Claim Notes:   Allow/Priority 507(a)(4)
    33   JAMES F DICKE II                 10/16/2018 Unsecured                 Allowed     8200-052         $0.00    $100,000.00    $100,000.00         $0.00        $0.00          $0.00   $100,000.00
         TRUST DATED APRIL 8 1994
         AS AMENDED
         JAMES F DICKE II
         40 SOUTH WASHINGTON
         STREET
         NEW BREMEN OH 45869
Claim Notes:   Allow/Equity Security Holder




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  Case No.                       18-04526-RM3-7                                                                                      Trustee Name:           John C. McLemore
  Case Name:                     INTEGRATED HEALING TECHNOLOGIES, LLC                                                                Date:                   3/6/2019
  Taxpayer ID #:                 XX-XXXXXXX
  Claims Bar Date:               10/22/2018

 Claim               Creditor Name         Claim           Claim Class         Claim       Uniform    Scheduled     Claim        Amount         Amount       Interest         Tax          Net
  No.:                                     Date                                Status     Tran Code    Amount      Amount        Allowed         Paid                                    Remainin
                                                                                                                                                                                            g

    34   OLIVER C                        10/16/2018   General Unsecured       Allowed     7100-000         $0.00   $208,645.56   $201,645.56         $0.00        $0.00          $0.00   $201,645.56
         CARMICHAEL III
         2605 ELM HILL PIKE SUITE I
         NASHVILLE TN 37214
Claim Notes:   Allow/General Unsecured
    35   DAVID W WILEY JR                10/17/2018 General Unsecured        Disallowed   7100-000         $0.00   $200,000.00         $0.00         $0.00        $0.00          $0.00         $0.00
         40 BURTON HILLS BLVD
         SUITE 350
         NASHVILLE TN 37215
Claim Notes:   Disallow/Inadequate Documentation
    36   STEPHEN F FLATT                 10/17/2018 General Unsecured         Allowed     7100-000         $0.00    $69,287.50    $69,287.50         $0.00        $0.00          $0.00    $69,287.50
         1872 SANCTUARY PLACE
         MURFREESBORO TN 37128
Claim Notes:   Allow/General Unsecured
    37   GEORGE D SMITH JR               10/17/2018 Unsecured                 Allowed     8200-052         $0.00    $50,000.00    $50,000.00         $0.00        $0.00          $0.00    $50,000.00
         1207 Nichol Lane
         NASHVILLE TN 37205
Claim Notes:   Allow/Equity Security Holder
    38   SEPARATION DESIGN               10/19/2018 General Unsecured        Disallowed   7100-000         $0.00   $197,500.00         $0.00         $0.00        $0.00          $0.00         $0.00
         GROUP, LLC
          931 Rolling Meadows Road
          Waynesburg PA 15370
Claim Notes:   Disallow/Inadequate Documentation
    39   214 2ND AVE N STE 300           10/19/2018 General Unsecured        Disallowed   7100-000         $0.00    $57,750.00         $0.00         $0.00        $0.00          $0.00         $0.00
         dba Charles Mann
         Nashville TN 37201
Claim Notes:   Disallow/Duplicate of Claim 40
    40   ESTATE OF CHARLES O.            10/19/2018 General Unsecured         Allowed     7100-000         $0.00    $57,750.00    $57,750.00         $0.00        $0.00          $0.00    $57,750.00
         MANN, JR.
         Erik O Thorngren
         214 2nd Ave N Ste 300
         Nashville TN 37201
Claim Notes:   Allow/General Unsecured


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                                                                                           CLAIM ANALYSIS REPORT


  Case No.                      18-04526-RM3-7                                                                                              Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                        Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name            Claim            Claim Class        Claim       Uniform    Scheduled       Claim          Amount         Amount       Interest         Tax          Net
  No.:                                        Date                                Status     Tran Code    Amount        Amount          Allowed         Paid                                    Remainin
                                                                                                                                                                                                   g

    41   RODEWALD, ALBERT                   10/19/2018   Priority                Allowed     5300-000         $0.00     $12,850.00      $12,850.00          $0.00        $0.00          $0.00    $12,850.00
         4814 BYRD LN
         COLLEGE GROVE TN 37046
Claim Notes:   Allow/Priority 507(a)(4)
   41a   RODEWALD, ALBERT                   10/19/2018 General Unsecured         Allowed     7100-000         $0.00     $80,900.00      $80,900.00          $0.00        $0.00          $0.00    $80,900.00
         4814 BYRD LN
         COLLEGE GROVE TN 37046
Claim Notes:   Allow/General Unsecured
    42   RODEWALD, ALBERT                   10/19/2018 General Unsecured         Allowed     7100-000         $0.00    $634,000.00     $640,406.41          $0.00        $0.00          $0.00   $640,406.41
         4814 BYRD LN
         COLLEGE GROVE TN 37046
Claim Notes:   Allow/General Unsecured
    43   RODEWALD, ALBERT                   10/19/2018 General Unsecured         Allowed     7100-000         $0.00     $34,631.07      $34,631.07          $0.00        $0.00          $0.00    $34,631.07
         4814 BYRD LN
         COLLEGE GROVE TN 37046
Claim Notes:   Allow/General Unsecured
    44   SKYLINE EXHIBITOR                  10/22/2018 Secured                  Disallowed   4110-000         $0.00      $3,197.00           $0.00          $0.00        $0.00          $0.00         $0.00
         SOURCE
          144 BAIN DR, STE 100
          LAVERGNE TN 37086
Claim Notes:   Disallow/Satisfied in Full
    45   RODEWALD, ALBERT                   10/22/2018 General Unsecured         Allowed     7100-000         $0.00   $2,368,086.84   $2,368,086.84         $0.00        $0.00          $0.00 $2,368,086.84
         4814 BYRD LN
         COLLEGE GROVE TN 37046
Claim Notes:   Allow/General Unsecured
    46   STACI BENCE                        10/23/2018 General Unsecured        Disallowed   7100-000         $0.00      $1,211.40           $0.00          $0.00        $0.00          $0.00         $0.00
         5014 8TH CT S
         BIRMINGHAM AL 35212
Claim Notes:   Disallow/Late Filed Claim
    47   DR JACK FISHER                     10/23/2018 General Unsecured        Disallowed   7100-000         $0.00    $225,875.42           $0.00          $0.00        $0.00          $0.00         $0.00
         5867 FREDERICKSBURG DR
         NASHVILLE TN 37215
Claim Notes:   Disallow/Late Filed Claim

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                                                                                          CLAIM ANALYSIS REPORT


  Case No.                      18-04526-RM3-7                                                                                              Trustee Name:           John C. McLemore
  Case Name:                    INTEGRATED HEALING TECHNOLOGIES, LLC                                                                        Date:                   3/6/2019
  Taxpayer ID #:                XX-XXXXXXX
  Claims Bar Date:              10/22/2018

 Claim               Creditor Name           Claim           Claim Class         Claim       Uniform    Scheduled        Claim          Amount         Amount       Interest         Tax          Net
  No.:                                       Date                                Status     Tran Code    Amount         Amount          Allowed         Paid                                    Remainin
                                                                                                                                                                                                   g

    48   LBMC PC                           10/25/2018   General Unsecured      Disallowed   7100-000         $0.00        $8,300.25           $0.00         $0.00        $0.00          $0.00        $0.00
         201 FRANKLIN ROAD
         SUITE 400
         BRENTWOOD TN 37027
Claim Notes:   Disallow/Late Filed Claim
    49   FIVE STAR VENTURE                 11/01/2018 General Unsecured        Disallowed   7100-000         $0.00     $350,000.00            $0.00         $0.00        $0.00          $0.00        $0.00
         FUNDING
          JIM SOHR
          2002 TYNE BLVD
          NASHVILLE TN 37215
Claim Notes:   Disallow/Late Filed Claim
    50   PEACE                             11/30/2018 General Unsecured        Disallowed   7100-000         $0.00        $9,981.28           $0.00         $0.00        $0.00          $0.00        $0.00
         COMMUNICATIONS
         LLC
          PO BOX 909
          CHATTANOOGA TN 37401
Claim Notes:   Disallow/Late Filed Claim
    51   MARK WRIGHT                       12/07/2018 General Unsecured        Disallowed   7100-000         $0.00       $50,000.00           $0.00         $0.00        $0.00          $0.00        $0.00
         PO BOX 335
         ASHLAND CITY TN 37015
Claim Notes:   Disallow/Late Filed Claim
    52   COMMONWEALTH OF                   02/27/2019 Priority                 Disallowed   5800-000         $0.00        $1,000.00           $0.00         $0.00        $0.00          $0.00        $0.00
         KY DEPT. OF REVENUE
         P.O. Box 5222
         Frankfort KY 40602
Claim Notes:   Disallow/Late Filed Claim
   52a   COMMONWEALTH OF                   02/27/2019 Priority                 Disallowed   5800-000         $0.00        $2,590.70           $0.00         $0.00        $0.00          $0.00        $0.00
         KY DEPT. OF REVENUE
         P.O. Box 5222
         Frankfort KY 40602
Claim Notes:   Disallow/Late Filed Claim
                                                                                                                     $14,430,131.08   $6,770,199.79   $117,157.18        $0.00         $0.00 $6,731,575.37



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ABIGO MEDICAL SB                   ACOG                                   ACTION BUSINESS CONSULTING
SE-436                             EXHIBITS MANAGEMENT                    6051 RURAL PLAINS CIR, UNIT 301
33EKONOMIVAGEN 5                   409 12TH ST SW                         FRANKLIN TN 37064-1692
SWEDEN                             WASHINGTON DC 20024-2188




ADVANCED AMBULATORY INC            AESTHETIC COMPONENTS                   AGASTI, JEN RN CWCA FACCWS
PO BOX 981047                      1200 WALD RD                           141 PINE AVE
HOUSTON TX 77098-8047              ORLANDO FL 32806-6355                  FORCE PA 15841




ALABAMA ORTHOPAEDIC SOCIETY        ALEXANDER'S CATERING LLC               ALEXANDER, MALLORY
1085 CHESSON HILL DR               511 UNION ST, STE 2626                 PO BOX 116450
FITZPATRICK AL 36029-2646          NASHIVLLE TN 37219-1794                ATLANTA GA 30368-6450




ALEXIARES LLC                      ALFREY MD, DAVID                       AMERICAN SOCIETY OF PLASTIC SURGEONS
208 CRAIGHEAD ST                   22 WYNSTONE                            ATTN: FINANCE DEPT
NASHVILLE TN 37205-2512            NASHVILLE TN 37215-5800                444 EAST ALGONQUIN RD
                                                                          ARLINGTON HEIGHTS IL 60005-4664




ANDERSON, STEFANIE                 ANDREWS AGENCY LLC (THE)               ANDREWS, THOMAS
2728 BLUE HERON DR                 209 10TH AVE S, STE 525                208 JACKSON BLVD
FLORISSANT MO 63031-5513           NASHVILLE TN 37203-7102                NASHVILLE TN 37205-3300




ARKANSAS SECURITIES DEPT           ARMACOST, JOHN                         ATMOS ENERGY
HERITAGE WEST BLDG, STE 300        1692 S. WALNUT DR                      PO BOX 790311
201 EAST MARKHAM ST                WARSAW IN 46580-7355                   SAINT LOUIS MO 63179-0311
LITTLE ROCK AR 72201-1627




ATNIP, JOE                         AWHONN                                 BAIRD, IAN
7316 OLD CLARKSVILLE PKE           ATTN: MICHELE FLANAGAN RNC             175 BAYPOINTE PKWY, APT 422
JOELTON TN 37080-9402              9 MEDICAL PARK, STE 320                SAN JOSE CA 95134-1693
                                   COLUMBIA SC 29203




BAIRD, JAMES                       BARNEY, PAUL                           BASS, NANCY ANN
5214 RUSTIC WAY                    PO BOX 842818                          810 BELLEVUE RD UNIT 242
OLD HICKORY TN 37138-1344          BOSTON MA 02284-2818                   NASHVILLE TN 37221-2736




BATEMAN, MARY                      BATEMAN, SUZANNE                       BATES, REEDA
1200 GENERAL MCARTHUR DR           1200 GENERAL MCARTHUR DR               497 WHISPERING HILLS DR
BRENTWOOD TN 37027-6609            BRENTWOOD TN 37027-6609                NASHVILLE TN 37211-5342




BAURLE MD, ERIC J                  BEAN REALTY PARTNERS LLC               BECHERT, KARI
1806 IVY CREST DR                  3841 GREEN HILLS VILLAGE DR, STE 400   1024 ASHLAND AVENUE
BRENTWOOD TN 37027-3821            NASHVILLE TN 37215-2691                EVANSTON IL 60202-1139




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BENCE, STACI                          BENCHMARK INVESTORS GROUP            BENGEL LIVING TRUST
5014 8th COURT S.                     400 SUGARTREE LN, STE 310            1107 FLEMING ST
BIRMINGHAM, AL 35212                  FRANKLIN TN 37064-3074               KEY WEST FL 33040-6909




BENRUD, CONSTANCE                     BERGAN, JAMIE                        BES STUDIOS
510 W ERIE, #1901                     5382 COBBLER WAY                     5711 OLD OSBORNE TURNPIKE
CHICAGO IL 60654-6424                 CAMILLUS NY 13031-4306               HENRICO VA 23231-3059




BETSY V MATLOCK REVOCABLE TRUST       BICKEL, BECKY                        BLACK TIE MOVING NASHVILLE
353 CUDDY CT                          1888 WILSON PIKE                     320SEVEN SPRINGS WAY
NAPLES FL 34103-4074                  FRANKLIN TN 37067-7506               BRENTWOOD TN 37027-4537




BLOUNT, JOHN                          BLOUNT, SCOTT C                      BOVENDER JR, JACK
1101 NORRIS DR.                       3001 DEL CUROTO RD, UNIT 13          520 BELLE MEADE BLVD
PAWLEYS ISLAND, SC 29585              AUSTIN TX 78704-5154                 NASHVILLE TN 37205-3424




BRINDLE, TOD                          BRITTON, JIM                         BROWN MD, PHILLIP
6165 BOOTSIE BLVD                     3 GIBSON                             518 PARK CENTER DR
HENRICO VA 23231-7960                 LITTLEROCK AR 72227-2205             NASHVILLE TN 37205-3430




BROWN, MICHELLE                       BUCKEYE HOME HEALTH CARE             BUFORD, MARK
3617 18TH ST NE                       ATTN: BHHC WOUND FAIR                1003 HEATHROW HILLS CT
WASHINGTON DC 20018-2701              7700 PARAGON RD                      BRENTWOOD TN 37027-6838
                                      SELKIRK NY 12158




BUMSTEAD, FRANK                       BURD, PAUL                           BURNS, BRANDON
PO BOX 340020                         1033 DEMONBREUN ST., STE. 500        3217 ROLLING STONE
NASHVILLE TN 37203-0020               NASHVILLE TN 37203                   OKLAHOMA CITY OK 73120-1839




BURR, ROBERT                          BUSINESS FURNITURE WAREHOUSE         CALDWELL, MEREDITH
1262 HAYES LN                         706 19TH AVE N                       28 INVERARAY
BOWLING GREEN KY 42103-1459           NASHVILLE TN 37203-1900              NASHVILLE TN 37215-4129




CALVETTI, MIKE                        CAPITAL DISTRICT WOCN                CARINO, PETE
194 ESMER CT                          ATTN: MICHELLE MURRAY                1089 BROOKHAVEN SQ NE
NEWARK DE 19711-8510                  7700 PARAGON RD                      ATLANTA GA 30319-2878
                                      DAYTON OH 45459-4081




CARMICHAEL, CROM                      CARPENTER, JOHN                      CARR RIGGS & INGRAM
2605 ELM HILL PIKEM STE I             20 FOX FARMS RD                      3011 ARMORY DRIVE STE190
NASHVILLE TN 37214-3157               FLORENCE MA 01062-1335               NASHVILLE TN 37204-3746




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CASTELLO, CHRIS                     CASTRASIM HOLDINGS LLC               CATHOLIC HEALTH SYSTEM
104 BENNINGTON RD                   8600 FERN AVE                        ATTN: KRISTIE COLEMAN
GREER SC 29650-3500                 SHREVEPORT LA 71105-5639             2625 HARLEM RD, STE 120
                                                                         CHEEKTOWAGA NY 14225-4031




CHARLOTTE CONVENTION CTR            CHURCH, DALLAS WARREN                CIT
C/O SMART CITY NETWORKS             95 CHRISTOPHER ST, APT 7i            21146 NETWORK PLACE
5795 W BADURA AVE, STE 110          NEW YORK NY 10014-6627               CHICAGO IL 60673-1211
LAS VEGAS NV 89118-4724




CITY OF FRANKLIN                    CLARK-EVANS, CAROL P                 COBLE, G W II
109 THIRD AVE S, STE 141            1010 MANLEY LN                       5033 OLD HICKORY BLVD
FRANKLIN TN 37064-2562              BRENTWOOD TN 37027-5501              NASHVILLE TN 37218-4020




COBLE, GEORGE WILLIAM III           COLLINS, TIMOTHY                     COMCAST
7620 OLD CHARLOTTE PIKE             6933 GENTRY LN                       PO BOX 530098
NASHVILLE TN 37209-5504             MASON OH 45040-7591                  ATLANTA GA 30353-0098




COMER, KEIA                         COMMERCIAL INSUR ASSOC LLC           COMPLETE ANSWERING SERVICE
PO BOX 306003                       103 POWELL CT, STE 100               C/O ANSUR SYSTEMS LLS
NASHVILLE TN 37230-6003             BRENTWOOD TN 37027-5050              5225 KATY FREEWAY, STE 409
                                                                         HOUSTON TX 77007-2252




CONCUR TECHNOLOGIES                 CONWAY-WELCH, COLLEEN                COPY SOLUTIONS
62157 COLLECTIONS CENTER DR         C/O FRANK BUMSTEAD                   4091 MALLORY LANE STE 128
CHICAGO IL 60693-0001               PO BOX 340020                        FRANKLIN TN 37067-4850
                                    NASHVILLE TN 37203-0020




CORK MEDICAL                        COSMAS, RONALD                       COYOTE LOGISTICS LLC
8000 CASTEWAY DR                    1302 GUILES HILL CT                  PO BOX 742636
INDIANAPOLIS IN 46250-1943          BRANDON FL 33511-7612                ATLANTA GA 30374-2636




CRAIG, MARGARET C                   CRUMP LAW PC                         CRYSTAL SPRINGS
27 LEXINGTON GREEN                  202 CRESCENT AVE.                    PO BOX 660579
NASHVILLE TN 37215-2457             KENDALVILLE, IN 46755                DALLAS TX 75266-0579




CSI MEDICAL                         DALTON, PAUL                         DARDEN, MATT
170 COMMERCE WAY                    1200 WALD RD                         144 BAIN DR, STE 100
GALLATIN TN 37066-4647              ORLANDO FL 32806-6355                LA VERGNE TN 37086-3642




DAVIS, JEFFREY K III                DAVIS, PAM                           DELL FINANCIAL SERVICES
1235 BROADGATE DR                   1235 BROADGATE DR                    P O BOX 81577
FRANKLIN TN 37067-6517              FRANKLIN TN 37067-6517               AUSTIN TX 78708-1577




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DEMPSEY, KRISSY                     DICKE, JAMES F II                    DIXON, PAUL
PO BOX 743699                       40 S WASHINGTON ST                   1651 TAMMARRON AVE SE
ATLANTA GA 30374-3699               NEW BREMEN OH 45869-1288             GRAND RAPIDS MI 49546-9734




DONNELLEY FINANCIAL SOLUTIONS       DOWNS, DOUG                          DRUG ENFORCEMENT ADMIN
PO BOX 842282                       18723 BROOKSHADE LN                  ATTN: REGISTRATION SECTION/ODR
BOSTON MA 02284-2282                LOUISVILLE KY 40245-6222             PO BOX 2639
                                                                         SPRINGFIELD VA 22152-0639




DUDLEY MD, BUNYAN S                 DUDLEY, JONATHAN                     DUNSTAN GROUP LLC (THE)
507 SANDPIPER CIR                   325 IDEAL WAY                        1200 E MOREHEAD ST #140
NASHVILLE TN 37221-4387             CHARLOTTE NC 28203-5618              CHARLOTTE NC 28204-2863




EAG INC                             EATON, KARIN C                       ELCAM MEDICAL INC
PO BOX 604                          2012 25TH AVE S                      2 UNIVERSITY PLAZA, STE 620
NEW CARLISLE IN 46552-0604          NASHVILLE TN 37212-4203              HACKENSACK NJ 07601-6224




ELDRIDGE, WILLIAM C                 ELLSWORTH ADHESIVES                  EMERY PHARMA
DBA SURG & AESTHETIC LIGHT          W129 N10825 WASHINGTON DR            1000 ATLANTIC AVE, STE 110
TECHNOLOGIES                        GERMANTOWN WI 53022-4446             ALAMEDA CA 94501-1112
11605 APRILBUD DR
HENRICO VA 23233-8709



ENTREKIN, HUGH                      ESKIND MD, JEFFREY                   ESKIND MD, STEVEN
1432 TYNE BLVD                      416 ELLENSDALE AVE                   2322 GOLF CLUB LN
NASHVILLE TN 37215-4416             NASHVILLE TN 37205-3402              NASHVILLE TN 37215-1155




ET ASSOCIATES                       FED EX                               FELL, KEITH
ATTN: MARY ELLEN SCHRADER           PO BOX 371461                        507 CARONDELET ST
PO BOX 617                          PITTSBURGH PA 15250-7461             MANDEVILLE LA 70448-5002
NEW HARTFORD NY 13413-0617




FELLA, HENRY                        FERGUSON, GARY                       FIRSTBANK
1306 ELIZABETH BLVD                 9233 OLD SMYRNA RD                   211 COMMERCE ST, STE 300
FORT WORTH TX 76110-2516            BRENTWOOD TN 37027-6110              NASHVILLE TN 37201-1810




FISHER, JACK                        FISHER, JEFF                         FISHER, PATRICK
5867 FREDERICKSBURG DR              539 CLOSE LN                         15334 AZRA DR
NASHVILLE TN 37215-4817             NASHVILLE TN 37205-2702              ODESSA FL 33556-1863




FIVE IRON TECHNOLOGIES              FIVE STAR VENTURE FUNDING            FLASHBAY, INC
501 CORPORATE CTR, STE 510          2002 TYNE BLVD                       569 CLYDE AVE, UNIT 500
FRANKLIN TN 37067-6453              NASHVILLE TN 37215-4705              MOUNTAIN VIEW CA 94043-2257




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FLATT, STEPHEN F                      FLORIDA PLASTIC SURGERY SOCIETY (THE)   FLOSURE TECHNOLOGIES LLC
1872 SANCTUARY PL                     ATTN SUSAN RUSSELL                      PO BOX 123
MURFREESBORO TN 37128-4924            6300 SAGEWOOD DR STE H255               TARRYTOWN NY 10591-0123
                                      PARK CITY UT 84098-7502




FOLLIN, KATHY                         FREEMAN EXHIBITOR SVCS                  FREIBERG MD, CRAIG
4416 GERALD PL                        PO BOX 660613                           4021 OVERBROOK DR
NASHVILLE TN 37205-3806               DALLAS TX 75266-0613                    NASHVILLE TN 37204-4326




GABRIEL, ALLEN                        GALBRAITH, DOUG                         GDSA LLC
785 NW VALLEY ST                      931 ROLLING MEADOWS RD                  1393 OLD HILLSBORO RD
CAMAS WA 98607-9198                   WAYNESBURG PA 15370-3469                FRANKLIN TN 37069-9132




GEORGIA DEPARTMENT OF REVENUE         GEURIN, CASSANDRA                       GILL, DON
COMPLIANCE DIVISION                   2201 BOWMAN RD                          3011 ARMORY DR, STE 190
ARCS BANKRUPTCY                       FRANKLIN TN 37064-4918                  NASHVILLE TN 37204-3746
1800 CENTURY BLVD NE SUITE 9100
ATLANTA GA 30345-3202



GINGRASS MD, MARY                     GOAD, FRED                              GRAHAM, RITCHEY
1915 STATE ST                         917 STUART LN                           65 BROOKWOOD TER
NASHVILLE TN 37203-2209               BRENTWOOD TN 37027-5823                 NASHVILLE TN 37205-1409




GRAYMAR INVESTORS                     GREATER CINCINNATI WOUND OSTOMY         GRIFFITH, CHARLES B
411 GREAT CIRCLE RD                   ASSOC                                   108 HARDING PL #203
NASHVILLE TN 37228-1403               WEST CHESTER HOSP ATTN: JACKIE BROWN    NASHVILLE TN 37205-3704
                                      7700 HOSPITAL DR, OFFC 4003
                                      WEST CHESTER OH 45069



GRINDSTAFF, EDWARD D                  GROTTING MD, JAMES C                    GROWTHWRIGHT
6210 BELLE RIVE DR                    2610 CALDWELL MILL LN                   ATTN: COLE GRIFFITH
BRENTWOOD TN 37027-5616               BIRMINGHAM AL 35243-1714                301 PLUS PARK BLVD, STE 215
                                                                              NASHVILLE TN 37217-1118




GS1 US INC                            GUTHRIE, STEPHEN D                      HALL, WESLEY
DEPT 781271                           32416 MARIA CT                          937 FALLVIEW TRAIL
PO BOX 7800                           LIVONIA MI 48152-4275                   NASHVILLE TN 37211-6839
DETROIT MI 48278-1271




HANNULA, DON                          HAWS MD, MELINDA                        HEALTHCO SEARCH INTERATIONAL
DEPT CH 19041                         35 ERWIN CT                             C/O BOB HUTCHISON
PALATINE IL 60055-9041                NASHVILLE TN 37205-5006                 879 PINE TREE RED W
                                                                              LAKE ORION, MI 48362




HELL YEAH LLC                         HMP COMMUNICATIONS                      HOLMES, TAYLOR
2518 37TH AVE NE                      70 E SWEDESFORD RD, STE 100             2134 LONG HOLLOW PIKE
ST ANTHONY MN 55421-3632              MALVERN PA 19355-1476                   GALLATIN, TN 37068-8528




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HOOPER, JOHN M III                   INGRAM POA, ORIN H                   INGRAM, ORIN H II
4410 GERALD PL                       4400 HARDING RD                      1475 MORAN RD
NASHVILLE TN 37205-3806              NASHVILLE TN 37205-2204              FRANKLIN TN 37069-6301




INNOVATIVE RESOURCE INC              JACKSON, CLAY                        JARAMILLO, ONESIMO
547 MEADOWVIEW DR                    5819 HILLSBORO PKE                   4114 TRINITY LA
WAUCONDA IL 60084-2382               NASHVILLE TN 37215-4601              FRANKLIN TN 37067-7716




JOHJNSON, MAC                        JOHN CHARLES TISHLER +               JOHNSON'S LOCK & KEY
1380 OLD 122ND RD                    WALLER LANSDEN DORTCH & DAVIS PLLC   413 INDEPENDENCE SQ
LEBANON OH 45036-9496                511 UNION STREET STE 2700            FRANKLIN TN 37064-2128
                                     NASHVILLE, TN 37219-1791




JOHNSON, MARC                        JP DISPLAY                           JUNK KING NASHVILLE
1380 OLD 122ND RD                    327 WEST REDBERRY RD                 125 SPACE PARK S
LEBANON OH 45036-9496                DRAPER UT 84020-9513                 NASHVILLE TN 37211-3119




KELLEHER, KATHLEEN                   KERTH, ANDREW                        LBMC TECHNOLOGY SOLUTIONS
6275 JONES RD                        5150 E POINSETTIA DR                 PO BOX 1869
BURLINGTON WI 53105-9049             SCOTTSDALE AZ 85254-4661             BRENTWOOD TN 37024-1869




LIEN, BONNIE                         LIPMAN, LARRY                        LIPMAN, ROBERT
2324 MUSTANG WAY                     5906 HILLSBORO PKE                   411 GREAT CIRCLE RD
SPRING HILL TN 37174-3506            NASHVILLE TN 37215-4604              NASHVILLE TN 37228-1403




LLOYD, MATT                          LOCH COMPANY                         LOUISIANA BD OF DRUGS
PO BOX 251                           PO BOX 92                            12091 BRICKSOME AVE, STE B
THOMPSON STATION TN 37179-0251       ARRINGTON TN 37014-0092              BATON ROUGE LA 70816-2774




LYNCH, TIM                           MANN, CHARLES                        MARTIN INVESTMENT HOLDINGS (SERIES 11)
2125 ANTIGUA DR                      5853 GODWIN RD                       40 BURTON HILLS BLVD, STE 100
LEXINGTON KY 40509-9548              SANTE FE TN 38482                    NASHVILLE TN 37215-6291




MARTIN, CHARLES                      MARY ELIZABETH FRANKLIN REVOCABLE    MASSEY, CINDY
40 BURTON HILLS BLVD, STE 100        TRUST                                PO BOX 751766
NASHVILLE TN 37215-6291              301 BOWLING AVE                      CHARLOTTE NC 28275-1766
                                     NASHVILLE TN 37205-2519




MAXWELL MD, G PATRICK                MCCREARY, PAUL                       MCMAHAN, JOE
C/O FRANK BUMSTEAD                   W140 N9572 FREISTADT RD              219 LEONARD AVE
PO BOX 340020                        GERMANTOWN WI 53022                  NASHVILLE TN 37205-2425
NASHVILLE TN 37203-0020




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MEDEXPRESS                               MEDFORD, ZACH                          MEDLINE INDUSTRIES INC
PO BOX 7964                              2211 NORFOLK, STE 403                  LIBERTYVILLE-B02
BELFAST ME 04915-7900                    HOUSTON TX 77098-4051                  1501 HARRIS RD
                                                                                LIBERTYVILLE IL 60048-2433




MEDRIO INC                               MERCY SURGICAL DRESSING GROUP INC.     MICHIGAN SECTION ACOG
PO BOX 398372                            4 ZESTA DR                             C/O KAREN CARTER
SAN FRANCISCO CA 94139-8372              PITTSBURGH PA 15205-9725               3031 W GRAND BLVD, STE 645
                                                                                DETROIT MI 48202-5002




MIDDLE TN ELECTRIC MEMBERSHIP CORP       MIDEAST REGION KY WOCN                 MITCHELL WILLIAMS SELIG GATES PLLC
555 NEW SALEM HWY                        C/O BETH FANGMAN                       425 W CAPITOL AVE, STE 1800
MURFREESBORO TN 37129-3390               3609 GLENCREEK LN                      LITTLE ROCK AR 72201-3527
                                         LOUISVILLE KY 40218-1520




MIXON, JOSH                              MOORE, JANINE E                        MOSS-DUDLEY, LAURIE
PO BOX 13353                             4650 EVERAL LN                         507 SANDPIPER CIR
LEXINGTON KY 40583-3353                  FRANKLIN TN 37064-7723                 NASHVILLE TN 37221-4387




MULLINS, KEITH                           MULRON, TIMOTHY                        MURARI, CHOKSI
301 PLUS PARK BLVD STE 215               717 BRESSLYN RD                        801 DEL RIO PKE APT A12
NASHVILLE TN 37217-1088                  NASHVILLE TN 37205-2601                FRANKLIN TN 37064-4232




MURPHY, SUSAN                            MURRAY, CHRISTIAN                      MY OFFICE SUPPLY
500 DEADERICK ST                         116 HALLIARD DR                        PO BOX 306003
NASHVILLE TN 37242-0001                  EATONTOWN NJ 07724-2182                NASHVILLE TN 37230-6003




NANCE, AMY CROSS                         NATIONAL DISTRIBUTION AND CONTACTING   NATIONAL REGISTERED AGENTS
103 FORREST CROSSING BLVD, STE 205       402 BNA DR STE 500                     2875 MICHELLE ST 100
FRANKLIN TN 37064-5453                   NASHVILLE TN 37217-2551                IRVINE CA 92606-1024




NDC                                      NELSON, MEREDITH B                     NER WOCN
DEPT 169 PO BOX 37904                    2704 TYNE BLVD                         1100 W CENTRE ST
CHARLOTTE NC 28237-7904                  NASHVILLE TN 37215-4532                SHENANDOAH PA 17976-1408




NORTH, DAVID                             NOVACOPY                               NOVASTYLE HEALTH
14142 KINGS FARM CT                      PO BOX 372 DEPT 200                    5999 AVENIDA ENCINAS STE 100
MIDLOTHIAN VA 23113-3766                 MEMPHIS TN 38101-0372                  CARLSBAD CA 92008-4460




O'SHAUGHNESSY MD, KRISTINA               OH BUREAU OF WORKER'S COMPENSATION     OH TREASURER OF STATE
708 ENQUIRER AVE.                        BWC STATE INSUR FUND                   30 E. BROAD ST 9TH FL
NASHVILLE TN 37205-3724                  PO BOX 89492                           COLUMBUS OH 43215-3461
                                         CLEVELAND OH 44101-6492




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OHIO STATE UNIV                       OLK INVESTMENTS LLC                  OWEN, RHONDA
2020 BLANKENSHIP HALL                 3468 W BLUFF AVE                     4113 HELENA BAY CT
901 WOODY HAYES DR                    FRESNO CA 93711-0105                 HERMITAGE TN 37076-3151
COLUMBUS OH 43210-4016




PACIFIC BIOLABS                       PAOS                                 PARANET CORP SVCS INC
551 LINUS PAULING DR                  PO BOX 10781                         3675 CRESTWOOD PKWY STE 350
HERCULES CA 94547-1830                GLENDALE AZ 85318-0781               DULUTH GA 30096-5054




PATTERSON INTELLECTUAL PROPERTY LAW   PEACE COMMUNICATIONS LLC             PEARSON, LAURI
PC                                    PO BOX 909                           502 HUNTINGTON RIDGE DR
ROUNDABOUT PLAZA                      CHATTANOOGA TN 37401-0909            NASHVILLE TN 37211-5995
1600 DIVISION ST
NASHVILLE TN 37203-2754



PENSAR MEDICAL LLC                    PHARMACO THERAPY CONSULTANTS LLC     PIONEER MEDICAL INC
684 PARKRIDGE AVE                     101 CREEKSIDE CROSSING RD            PO BOX 92545
NORCO CA 92860-3124                   STE 1700 PMB 389                     NASHVILLE TN 37209-8545
                                      BRENTWOOD TN 37027-1085




PLURIS RESEARCH                       POE, ANTOINE                         PORTER, ROBERT STEPHEN
1254 WINDSONG CT                      2223 KAVANAUGH BLVD                  101 CREEKSIDE CROSSING
BRENTWOOD TN 37027-8487               LITTLE ROCK AR 72205-3935            STE 1700 PMB 389
                                                                           BRENTWOOD TN 37027-1085




PORTER, STEPHEN                       POWELL, TRACY                        PREMIER HEALTHCARE ALLIANCE LP
127 HABERSHAM RD                      150 3RD AVE S, STE 1100              PO BOX 847650
COLUMBIA TN 38401-5706                NASHVILLE TN 37201-2037              LOS ANGELES CA 90084-7650




PREMIER HEALTHCARE SOLUTIONS          PRINT WORKS                          PUPELIS, ROB
5882 COLLECTIONS CENTER DR            493 CAVE RD                          2211 NORFOLK STE 403
CHICAGO IL 60693-0058                 NASHVILLE TN 37210-2301              HOUSTON TX 77098-4051




QUILL CORP                            R & B BUILDING MAINTENANCE           R R DONNELLEY
PO BOX 37600                          PO BOX 291652                        7810 SOLUTION CTR
PHILADELPHIA PA 19101-0600            NASHVILLE TN 37229-1652              CHICAGO IL 60677-7008




R&Q                                   REALSCENARIO INC                     REBROVICK, LINDA
2790 MOSSIDE BLVD STE 800             3745 SAN SIMEON CIR                  5202 CLOSE CIR
MONROEVILLLE PA 15146-2768            WESTON FL 33331-5050                 NASHVILLE TN 37205-2716




RED CARPET SELF STORAGE               REDDY MD, V SREENATH                 REHBERG, KYLE
108 WERTHAN CIR                       3513 WOODMONT BLVD                   5370 N HILLBROOKE TRACE
FRANKLIN TN 37064-4019                NASHVILLE TN 37215-1427              ALPHARETTA GA 30005-7236




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REPUBLIC SVCS                            RESCHKE, GARY RICHARD                REYES ORTEGA, AMERELIS
PO BOX 9001099                           7193 25 MILE RD                      7817 HEATON WAY
LOUISVILLE KY 40290-1099                 SHELBY TOWNSHIP MI 48316-1822        NASHVILLE TN 37211-7053




RIDGEFIELD PROPERTIES                    ROBERT HALF EXECUTIVE SEARCH         RODEWALD, ALBERT
515 CHURCH ST, STE 3703                  PO BOX 743295                        4814 BYRD LN
NASHVILLE TN 37219-3009                  LOS ANGELES CA 90074-3295            COLLEGE GROVE TN 37046-9261




ROEHLING, CHAD                           ROLAND'S PHOTOGRAPHY                 ROMANO, CRYSTAL
17125 BRUMBELOW RD                       2817 WEST END AVE #126-129           3108 DEERFIELD RIDGE DR
NEEDVILLE TX 77461-1715                  NASHVILLE TN 37203-1453              MCDONALD PA 15057-1503




ROSS, JAY HARDIN                         RUSH FOUNDATION HOSPITAL             SAFE-DRY CARPET CLEANING
4420 GERALD PLACE                        1314 9TH AVE                         133 CITATION CT
NASHVILLE TN 37205-3806                  MERIDIAN MS 39301-4116               BIRMINGHAM AL 35209-6306




SALENE TRUST                             SALESFORCE.COM INC                   SAMRA, TJ
3821 INLET ISLE DR                       PO BOX 203141                        20 FOX FARMS RD
CORONA DEL MAR CA 92625-1603             DALLAS TX 75320-3141                 FLORENCE MA 01062-1335




SANTI MD, STEVE F                        SARTORIUS                            SCHWABER MD, MITCHELL
1105 RADNOR GLEN DR                      5 ORVILLE DR                         703 OVERTON PK
BRENTWOOD TN 37027-4135                  BOHEMIA NY 11716-2535                NASHVILLE TN 37215-2451




SCR OF THE WOCN SOCIETY                  SECRETARY OF STATE, DELAWARE         SEEZEN, HANS
ATTN: JANET FIELDS                       DIV OF CORPORATIONS                  1204 SAXON DR
5522 S DELAWARE CT                       PO BOX 5509                          NASHVILLE TN 37215-4408
TULSA OK 74105-7436                      BINGHAMTON NY 13902-5509




SESLER, DEBBIE AND LYNETTE               SHAREFILE                            SHEPARD EXPOSITION SVCS
301 ROSA L PARKS #411                    120 S WEST ST                        1424 HILLS PL
NASHVILLE TN 37203-3581                  RALEIGH NC 27603-1834                ATLANTA GA 30318-2821




SHERRARD ROE VOIGHT & HARBISON PLC       SHIP MY ORDERS INC                   SHIP MY ORDERS INC.
150 3RD AVE S                            1401 POPLAR LANE                     4031 INDUSTRIAL CTR DR STE 705
NASHVILLE TN 37201-2011                  NASHVILLE TN 37210-4519              NORTH LAS VEGAS NV 89030-0231




SHOCK, KAREN                             SIMONSEN, CHRISTOPHER M              SITAR, AMI
682 CR 431                               4013 COPELAND DR                     21304 S FORREST VIEW DR
THORNDALE TX 76577-8752                  NASHVILLE TN 37215-2201              SHOREWOOD IL 60404-8227




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SKYLINE EXHIBITOR SOURCE                  SMITH JR, GEORGE D                    SMITH MD, DELL PARKER
144 BAIN DR, STE 100                      1207 NICHOL LN                        1880 FILLMORE AVE N
LAVERGNE TN 37086-3642                    NASHVILLE TN 37205-4419               TWIN FALLS ID 83301-3015




SMITH, DAVID                              SMITH, JOE                            SMITH, JOSHUA
735 EAST IRON HILL RD                     570 GRAND DR NE                       6325 PERCY DR
BURNS TN 37029-5231                       CLEVELAND TN 37312-5066               NASHVILLE TN 37205




SMOOT, DIANN                              SPI                                   ST JUDE CHILDREN'S RESEARCH HOSP
3605 POINCIANA AVE                        LINCOLN TOWER PLAZA STE 505           PO BOX 1000 DEPT 142
READING PA 19605-1555                     524 S 2ND ST                          MEMPHIS TN 38148-0142
                                          SPRINGFIELD IL 62701-1749




STANFORD UNIVERSITY                       STERICYCLE INC                        STEVENS MD, WILLIAM GRANT
PO BOX 44253                              PO BOX 6575                           13455 VENTURA BLVD, STE 208
SAN FRANCISCO CA 94144-4253               CAROL STREAM IL 60197-6575            SHERMAN OAKS CA 91423-6123




STINSON, CARLTON                          STITES & HARBISON PLLC                TIMOTHY J PATTON TRUST
1120 TYNE BLVD                            SUNBTRUST PLAZA                       2100 LONDONDERRY
NASHVILLE TN 37220-1029                   401 COMMERCE ST, STE 800              ANN ARBOR MI 48104-2804
                                          NASHVILLE TN 37219-2490




TITZER, SCOTT                             TN DEPARTMENT OF REVENUE              TN DEPT COMMERCE & INSUR
5520 INDUSTRIAL RD                        TN ATTY GENERAL'S OFFC, BANKR DIV     C/O TN ATTY GENERAL'S OFFC, BANKR D
MOUNT VERNON IN 47620-7200                PO BOX 20207                          PO BOX 20207
                                          NASHVILLE TN 37202-4015               NASHVILLE TN 37202-4015




TN DEPT ENVIRONMENT & CONSERVATION        TN SEC OF STATE                       TRAN, ANTHONY
C/O TN ATTY GENERAL'S OFFC, BANKR D       C/O TN ATTY GENERAL'S OFFC, BANKR D   510 GAY ST, APT 1113
PO BOX 20207                              PO BOX 20207                          NASHVILLE TN 37219-1239
NASHVILLE TN 37202-4015                   NASHVILLE TN 37202-4015




TRAYLOR, KIP                              TRK AESTHETIC CONSULTING              ULINE
9000 MACAULEY LN                          1302 GULLES HILL CT                   PO BOX 88741
NOLENSVILLE TN 37135-4014                 BRANDON FL 33511-7612                 CHICAGO IL 60680-1741




UNIV OF ROCHESTER - CTR FOR EXP           UPS                                   UPS 6Y1855
LEARNING                                  28013 NETWORK PL                      LOCKBOX 577
601 ELMWOOD AVE BOX 709                   CHICAGO IL 60673-1280                 CAROL STREAM IL 60132-0577
ROCHESTER NY 14642-0001




US BANK                                   US STORAGE CTRS                       VATA
TMS-C/M 9581                              7102 BAKERS BRIDGE AVE                308 S SEQUOIA PKWY
PO BOX 70870                              BRENTWOOD TN 37027-7985               CANBY OR 97013-7825
SAINT PAUL MN 55170-9581




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VENDORMATE                           VENTRESS DESIGN WORKS                VERASONI
3445 PEACHTREE RD NE STE 300         PO BOX 158544                        271 RT 46 W
ATLANTA GA 30326-1234                NASHVILLE TN 37215-8544              H 202/203
                                                                          FARIFIELD NJ 07004




VESTA                                WALL, BILL                           WEBB, NANCY
5400 W FRANKLIN DR                   845 MIDDLE TENNESSEE BLVD, STE B     715 BELLE MEADE BLVD, APT C-1
FRANKLIN WI 53132-8624               NASHVILLE TN 37205                   NASHVILLE TN 37205-3853




WELTY, TERRI                         WESLYN, JENNIFER                     WETRICH GROUP
468 HUNT DR                          PO BOX 933027                        325 MIRON DR STE 140
LEWISVILLE TX 75067-8204             ATLANTA GA 31193-3027                SOUTHLAKE TX 76092-7829




WILEY JR, DAVID W                    WILEY, MARGARET H                    WILLEMSEN, DONNA
109 CLARENDON AVE                    109 CLAREDON AVE                     11204 AVERY STATION LOOP
NASHVILLE TN 37205-3301              NASHVILLE TN 37205-3301              AUSTIN TX 78717-5052




WILLIAMSON COUNTY TRUSTEE            WILSON, PEGGY                        WITT, BRAD
PO BOX 1365                          2002 ORVILLE DR N                    3791 ROSS PARK DR
FRANKLIN TN 37065-1365               RONKONKOMA NY 11779-7661             BIRMINGHAM AL 35226-6292




WITZENBERGER MD, THOMAS              WOCN                                 WODOCK, PETE
901 EAST AMINO REAL, APT 7B          ATTN CHRIS BROWN                     12106 PEBBLEPOINTE PASS
BOAC RATON FL 33432-6373             1120 RTE 73, STE 200                 CARMEL IN 46033-9678
                                     MOUNT LAUREL NJ 08054-5113




WOODARD, SARA B                      WOUND CARE EDUCATION INST            WOUND SOURCE
1306 ELIZABETH BLVD                  25828 PASTORAL DR                    KESTREL HEALTH INFORMATION INC
FORT WORTH TX 76110-2516             PLAINFIELD IL 60585-2533             PO BOX 189
                                                                          HINESBURG VT 05461-0189




WOUNDEDUCATORS.COM LLC               WOZNIAK, CHRIS                       WRIGHT, MARK
ATTN LAURIE SWEZEY                   4 SPLIT ROCK RD                      419 PRESTWICK CT
4521 PGA BLVD #508                   PITTSFORD NY 14534-1814              NASHVILLE TN 37205-5016
PALM BCH GARDENS FL 33418-3997




WU, ROY                              YAEGER, WAYNE
2000 POWELL ST STE 1150              3234 RAMBLING HILL CT
EMERYVILLE CA 94608-1866             ALLENWOOD NJ 08720-7024




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